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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Jane Street Group, LLC,                                   Case No.: 24 Civ. 2783

                       Plaintiff,

               -against-

Millennium Management LLC, et al.,

                       Defendants.


                                STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED between Plaintiff Jane Street Group, LLC

and Defendants Millennium Management LLC, Douglas Schadewald, and Daniel Spottiswood,

that all of the claims and defenses in this action are hereby dismissed with prejudice, pursuant to

Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, with each party to bear its or his own

costs, expenses, and attorneys’ fees in this action.



DATED:      December 5, 2024                           Respectfully submitted,




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 Attorneys for Defendants Douglas Schadewald
 and Daniel Spottiswood




         SO ORDERED



Dated:                                                   ______________________________
         New York, New York                              The Honorable Paul A. Engelmayer
                                                         United States District Judge
